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                           IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                                                )          Bankruptcy No. 04-26497 MBM
                                                      )
Randy J. Gillette, Sr.,                               )          Chapter 7
                                                      )
         Debtor(s).                                   )          Document No.

                  TRUSTEE’S CERTIFICATION OF COMPLETION OF ESTATE
                   ADMINISTRATION AND APPLICATION FOR DISCHARGE

         The undersigned Trustee (the “Trustee”) certifies as follows in connection with the administration
of the bankruptcy estate in the above referenced case (the “Estate”):
         a.      All money of the Estate has been distributed to creditors in accordance with the Order of
                 Distribution previously entered in this case;
         b.      Any unclaimed funds and small dividends have been fully administered pursuant to Section
                 347 of the Bankruptcy Code;
         c.      Statements for all Estate deposit or investment accounts are attached hereto and indicate
                 zero balances;
         d.      All original canceled checks relating to all distributions of Estate money are attached
                 hereto; and
         e.      The Estate has been fully and properly administered, and the Trustee has performed all the
                 duties of a Trustee in connection with the administration of the Estate pursuant to Section
                 704 of the Bankruptcy Code.
         WHEREFORE, the Trustee requests that he will be discharged and that the above referenced case
be closed.
                                                           Respectfully submitted,


Dated: February 23, 2007                                   /s/ Charles O. Zebley, Jr.
                                                           Charles O. Zebley, Jr., Trustee
                                                           Zebley Mehalov & White, P.C.
                                                           PA I.D. No. 28980
                                                           P.O. Box 2124
                                                           Uniontown, PA 15401
                                                           (724) 439-9200
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                                                                                   Form 2                                                                                    Page: 1
                                                          Cash Receipts And Disbursements Record
Case Number:         04-26497 MBM                                                                     Trustee:            Charles O. Zebley, Jr. (580740)
Case Name:           GILLETTE, RANDY J., SR.                                                          Bank Name:          JPMORGAN CHASE BANK, N.A.
                                                                                                      Account:            ***-*****37-65 - Money Market Account
Taxpayer ID #: XX-XXXXXXX                                                                             Blanket Bond:       $10,909,597.00 (per case limit)
Period Ending: 01/31/07                                                                               Separate Bond:      N/A

   1           2                           3                                        4                                           5                 6                      7
 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements       Money Market
  Date      Check #            Paid To / Received From                    Description of Transaction            T-Code          $                  $            Account Balance
05/18/05      {10}        Francis Gillette for Randy J. Gillette Settlement of unexempt amount per order       1210-000          6,092.00                               6,092.00
                                                                 dated 04/05
05/31/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.3500%                     1270-000              0.70                                    6,092.70
06/30/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.4000%                     1270-000              1.94                                    6,094.64
07/29/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.4500%                     1270-000              2.11                                    6,096.75
08/31/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.4500%                     1270-000              2.33                                    6,099.08
09/30/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5000%                     1270-000              2.40                                    6,101.48
10/31/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5500%                     1270-000              2.65                                    6,104.13
11/30/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.5500%                     1270-000              2.76                                    6,106.89
12/30/05       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.6500%                     1270-000              3.05                                    6,109.94
01/26/06      1001        International Sureties, LTD.         BOND PREMIUM PAYMENT ON LEDGER                  2300-000                                  4.35                6,105.59
                                                               BALANCE AS OF 01/26/2006 FOR CASE
                                                               #04-26497, Bond # 016026363
01/31/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                     1270-000              3.44                                    6,109.03
02/28/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                     1270-000              3.28                                    6,112.31
03/31/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.7000%                     1270-000              3.63                                    6,115.94
04/28/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              3.87                                    6,119.81
05/31/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              4.16                                    6,123.97
06/30/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              4.03                                    6,128.00
07/31/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              4.17                                    6,132.17
08/31/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              4.17                                    6,136.34
09/29/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              3.89                                    6,140.23
10/31/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              4.30                                    6,144.53
11/30/06       Int        JPMORGAN CHASE BANK, N.A.            Interest posting at 0.8000%                     1270-000              4.03                                    6,148.56


                                                                                                           Subtotals :           $6,152.91             $4.35
  {} Asset reference(s)                                                                                                                         Printed: 02/23/2007 03:52 PM    V.9.02
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                                                                               Form 2                                                                                     Page: 2
                                                        Cash Receipts And Disbursements Record
Case Number:        04-26497 MBM                                                                    Trustee:         Charles O. Zebley, Jr. (580740)
Case Name:          GILLETTE, RANDY J., SR.                                                         Bank Name:       JPMORGAN CHASE BANK, N.A.
                                                                                                    Account:         ***-*****37-65 - Money Market Account
Taxpayer ID #: XX-XXXXXXX                                                                           Blanket Bond:    $10,909,597.00 (per case limit)
Period Ending: 01/31/07                                                                             Separate Bond:   N/A

   1           2                         3                                       4                                         5                   6                      7
 Trans.     {Ref #} /                                                                                                   Receipts          Disbursements        Money Market
  Date      Check #           Paid To / Received From               Description of Transaction            T-Code           $                    $             Account Balance
12/18/06      Int         JPMORGAN CHASE BANK, N.A.       Interest posting at 0.8000%                    1270-000                  2.29                               6,150.85
12/18/06                  To Account #********3766        Transfer for final account distribution        9999-000                                  6,150.85                  0.00
                                                                           ACCOUNT TOTALS                                      6,155.20            6,155.20                 $0.00
                                                                               Less: Bank Transfers                                0.00            6,150.85
                                                                           Subtotal                                            6,155.20               4.35
                                                                               Less: Payments to Debtors                                              0.00
                                                                           NET Receipts / Disbursements                     $6,155.20                $4.35




  {} Asset reference(s)                                                                                                                      Printed: 02/23/2007 03:52 PM   V.9.02
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                                                                                   Form 2                                                                                    Page: 3
                                                             Cash Receipts And Disbursements Record
Case Number:        04-26497 MBM                                                                         Trustee:         Charles O. Zebley, Jr. (580740)
Case Name:          GILLETTE, RANDY J., SR.                                                              Bank Name:       JPMORGAN CHASE BANK, N.A.
                                                                                                         Account:         ***-*****37-66 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                                Blanket Bond:    $10,909,597.00 (per case limit)
Period Ending: 01/31/07                                                                                  Separate Bond:   N/A

   1           2                           3                                         4                                          5                  6                     7
 Trans.     {Ref #} /                                                                                                        Receipts        Disbursements           Checking
  Date      Check #            Paid To / Received From                  Description of Transaction             T-Code           $                  $              Account Balance
12/18/06                  From Account #********3765           Transfer for final account distribution        9999-000           6,150.85                                 6,150.85
12/20/06      101         Charles O. Zebley, Jr.               Dividend paid 100.00% on $1,495.00, Attorney 3110-000                                   1,495.00              4,655.85
                                                               for Trustee Fees (Trustee Firm); Reference:
12/20/06      102         eCAST Settlement Corporation,        Claim No. 1; Your Ref # XXXX-8828;             7100-000                                  875.35               3,780.50
                          assignee of                          Dividend paid on Claim Amount Allowed
12/20/06      103         Arrow Financial Services LLC c/o     Claim No. 2; Your Ref # XXXX-6658;             7100-000                                  382.79               3,397.71
                          Becket and Lee, LLP                  Dividend paid on Claim Amount Allowed
12/20/06      104         Erie Insurance Group 100 Erie        Claim No. 3; Your Ref # Q06-2930385;           7100-000                                  128.50               3,269.21
                          Insurance Place                      Dividend paid on Claim Amount Allowed
12/20/06      105         B-Line, LLC/First National Bank of   Claim No. 7; Your Ref # XXXX-6055;             7100-000                                  750.23               2,518.98
                          Marin B-Line, LLC                    Dividend paid on Claim Amount Allowed
12/20/06      106         Richard Knight                       Claim No. 5; Your Ref # ; Dividend paid on     7200-000                                  495.64               2,023.34
                                                               Claim Amount Allowed
12/20/06      107         Karen Knight                         Claim No. 6; Your Ref # ; Dividend paid on     7200-000                                  495.64               1,527.70
                                                               Claim Amount Allowed
12/20/06      108         Charles O. Zebley, Jr.               COMBINED CHECK FOR TRUSTEE                                                              1,527.70                 0.00
                                                               COMPENSATION, EXPENSES AND
                                                               INTEREST
                                                                  Dividend paid 100.00%            1,363.65   2100-000                                                          0.00
                                                                  on $1,363.65; Claim# ;
                                                                  Filed: $1,363.65
                                                                  Dividend paid 100.00%              164.05   2200-000                                                          0.00
                                                                  on $164.05; Claim# ;
                                                                  Filed: $164.05



                                                                                                          Subtotals :            $6,150.85         $6,150.85
  {} Asset reference(s)                                                                                                                         Printed: 02/23/2007 03:52 PM    V.9.02
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                                                                         Form 2                                                                                   Page: 4
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Case Name:         GILLETTE, RANDY J., SR.                                                  Bank Name:       JPMORGAN CHASE BANK, N.A.
                                                                                            Account:         ***-*****37-66 - Checking Account
Taxpayer ID #: XX-XXXXXXX                                                                   Blanket Bond:    $10,909,597.00 (per case limit)
Period Ending: 01/31/07                                                                     Separate Bond:   N/A

  1           2                     3                                     4                                        5                   6                      7
Trans.     {Ref #} /                                                                                            Receipts          Disbursements          Checking
 Date      Check #        Paid To / Received From              Description of Transaction         T-Code           $                    $             Account Balance
                                                                      ACCOUNT TOTALS                                   6,150.85            6,150.85                 $0.00
                                                                          Less: Bank Transfers                         6,150.85                0.00
                                                                      Subtotal                                             0.00            6,150.85
                                                                          Less: Payments to Debtors                                           0.00
                                                                      NET Receipts / Disbursements                       $0.00          $6,150.85


                          Net Receipts :        6,155.20
                                           ————————                                                                 Net                Net                  Account
                            Net Estate :       $6,155.20              TOTAL - ALL ACCOUNTS                        Receipts        Disbursements             Balances
                                                                      MMA # ***-*****37-65                             6,155.20                4.35                  0.00
                                                                      Checking # ***-*****37-66                            0.00            6,150.85                  0.00
                                                                                                                    $6,155.20           $6,155.20                   $0.00




 {} Asset reference(s)                                                                                                               Printed: 02/23/2007 03:52 PM   V.9.02
